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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,                                                       14-Cr-26 (ARR)

                                                                                NOT FOR ELECTRONIC
          -against-                                                             OR PRINT PUBLICATION

 VINCENT ASARO, JEROME ASARO, JACK                                              OPINION & ORDER
 BONVENTRE, TIIOMAS DIFIORE, and JOHN
 RA GANO,

                           Defendants.

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 ROSS, United States District Judge:

          I have reviewed defendant DiFiore's letter motion, submitted through counsel, requesting

 that I preclude the government from reading email communications between Mr. Difiore and his

 counsel. See DE# 96. Having also reviewed the government's responsive letter, DE# 97, I

 deny Mr. DiFiore's application for the following reasons.


         Mr. Difiore' s application relates to email communications between himself and his

 counsel via the Bureau of Prisons' ("BOP") Trust Fund Limited Inmate Computer System

 ("TRULINCS"). Mr. Difiore does not appear to contest the government's position that

 TRULINCS communications are not protected by attorney-client privilege. 1 Instead, he

 essentially argues that, because it would be easier to engage in privileged attorney-client




 1
   The court nonetheless notes its agreement with the government that, because BOP inmates and their counsel are
 provided with prior warning that their TRULINCS communications will not be treated as privileged and must accept
 those terms prior to using TRULINCS, their TRUL IN CS emails do not qualify for the protection of attorney-client
 privilege. Cf. United States v. Meiia. 655 F.3d 126, 133-35 (2d Cir. 2011) (finding that inmate waived privilege
 where he was aware that his phone conversation was being recorded by BOP).


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 conununications if Mr. DiFiore's TRULINCS emails were protected, Mr. DiFiore's Sixth

 Amendment right of access to counsel is being unacceptably frustrated. 2


          While the court sympathizes with Mr. DiFiore's and his counsel's concern that it would

 not only be easier but also more efficient and cost-effective if their conununications regarding

 defense preparation could be conducted through privilege-protected emails, there is insufficient

 legal basis for the argument that BOP's failure to provide a privileged form of email

 conununication infringes Mr. DiFiore's Sixth Amendment right to counsel. The government's

 policy does not ..unreasonably interfere" with Mr. DiFiore's ability to consult his counsel, as

 other means of privileged communication remain open to him, including phone calls, mail, and

 in-person visits with his attorney. See Benjamin v. Fraser, 264 F.3d 175, 187 (2d Cir. 2001)

 (noting that prison regulations restricting defendants' access to counsel would be

 unconstitutional where they "unreasonably burden[] the inmate's opportunity to consult with

 counsel and to prepare his defense") (internal quotation marks omitted). Mr. Difiore has not

 alleged any interference with his ability to consult counsel through these other media, other than

 his counsel's expending time and funds on traveling to visit him and the inconvenience of having

 to arrange phone calls in advance. In fact, by implementing TRULINCS in recent years, BOP

 has not placed restrictions on inmates' ability to contact their counsel, but rather it has

 significantly increased inmates' ability to conununicate with the outside world, including with

 their counsel, even if not currently in a privileged form. Certainly, it would be a welcome

 development for BOP to improve TRULINCS so that attorney-client communications could be

 easily separated from other emails and subject to protection. However, I find that any

 2
  Mr. DiFiore's application also drops in the assertion that monitoring of his emails "violate[s] [his] right to due
 process" but then discusses only his right to counsel argument. Because there is absolutely nothing to suggest that
 monitoring Mr. DiFiore's TRULINCS emails violates his due process rights, and Mr. DiFiore's counsel seems to
 acknowledge this by directing no arguments to this point, I will not further address it here.


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 inconvenience to Mr. Difiore and his counsel caused by the current system does not rise to the

 level of a Sixth Amendment violation.


          Moreover, I note that there is nothing unique about Mr. DiFiore's circumstances to justify

 special treatment here. Mr. Difiore is no different from any other inmate awaiting trial in that

 there is a "need for him to actively participate with counsel to prepare his defense." DE# 96, at

 4. As I have already stated, there are sufficient alternative means available for him to do so.

 Neither the complexity of the case nor the volume of discovery involved justifies special

 consideration. If anything, to the extent that Mr. Difiore' s case is any more complicated than

 average, email would seem to be the least useful means of communication for preparing a

 defense. Due to the existence of the protective order precluding defendants from obtaining

 copies of the consensual recordings produced during discovery, it is difficult to see how email

 could do much to facilitate reviewing these recordings more easily. Finally, Mr. DiFiore's

 medical issues do not warrant special treatment for his TRULICS communications because, as

 with legal matters, he may communicate with counsel by other means, and particularly by phone.


          For the foregoing reasons, Mr. DiFiore's application is denied, and the government is

 relieved of its agreement to temporarily refrain from reviewing Mr. Difiore' s emails pending the

 outcome of this application.


 SO ORDERED.

                                                               /s/(ARR)
                                                        Allyne R. ~ss       '~
                                                        United States District Judge

 Dated:          July 15, 2014
                 Brooklyn, New York




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